 The relief described hereinbelow is SO ORDERED.

 SIGNED this 5th day of August, 2015.




 _________________________________________________________________________



                   IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF KANSAS

In Re:       MARK H. ENGEN,                               CASE NO. 15-20184
             MAUREEN E. ENGEN,
                        Debtors.

                          ORDER GRANTING DEBTORS’ MOTION TO
                                 DEVIATE FROM S.O. 11- 3

       The Court takes on for Consideration the Debtors’ Motion to Deviate From Standing
Order 11-3 requiring employer pay on mortgage payments.

       The Court finds that proper notice was given and that no objections were filed. The
Court finds that good cause exists to grant the relief requested.

       IT IS THEREFORE ORDERED that Debtors may deviate from Standing Order S.O.
11-3 and may pay all chapter 13 payments directly to the Chapter 13 Trustee. In the event that
debtors miss one plan payment, the Trustee will be allowed to issue an employer wage order
without further notice.


 Submitted by,
/s/ Teresa M. Kidd
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APPROVED BY:


CHAPTER 13 TRUSTEE

/s/ William H. Griffin
________________________________
William H. Griffin, Chapter 13 Trustee
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